
9 N.Y.2d 690 (1961)
The People of the State of New York, Respondent,
v.
Richard McGuinness, Appellant.
Court of Appeals of the State of New York.
Argued January 19, 1961.
Decided February 23, 1961.
Nathan A. Bork for appellant.
Arthur A. Darrigrand, District Attorney (J. Stuart Fero of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order reversed and the matter remitted to the Oneida County Court for a new hearing for the reasons stated in the dissenting opinion of the Appellate Division. No opinion.
